                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 1 of 14 Page ID #:164



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                                              10

                                              11                  UNITED STATES DISTRICT COURT
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                              12

                                              13   PARAMOUNT PICTURES                CASE NO. 2:19-cv-01156
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                                                   CORPORATION; COLUMBIA
                     B E V E R L Y H I L LS




                                              14
                                                   PICTURES INDUSTRIES, INC.;        DEFENDANTS’ MEMORANDUM OF
                                              15   DISNEY ENTERPRISES, INC.;         POINTS AND AUTHORITIES IN
                                                   TWENTIETH CENTURY FOX             SUPPORT OF ITS MOTION:
                                              16
                                                   FILM CORPORATION; WARNER
                                              17   BROS ENTERTAINMENT, INC.;         (1) TO SEVER FOR IMPERMISSIVE
                                                   UNIVERSAL CITY STUDIOS                JOINDER OF PARTY PLAINTIFFS;
                                              18
                                                   PRODUCTIONS LLLP;
                                              19   UNIVERSAL TELEVISION LLC;         (2) FOR MORE DEFINITE
                                                   and UNIVERSAL CONTENT                 STATEMENT; and,
                                              20
                                                   PRODUCTIONS LLC,
                                              21                                     (3) TO STRIKE SCANDALOUS AND
                                                               Plaintiffs,               IMMATERIAL PORTIONS OF THE
                                              22                                         COMPLAINT.
                                                       v.
                                              23   OMNIVERSE ONE WORLD
                                                   TELEVISION, INC.; JASON M.        Hon. Dolly M. Gee
                                              24
                                                   DEMEO,
                                              25                                     Hearing Date: May 24, 2019
                                                               Defendants.           Time: 9:30 a.m.
                                              26
                                                                                     Courtroom: 8C
                                              27

                                              28
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 2 of 14 Page ID #:165



                                               1                                              Table of Contents

                                               2                                                                                                              PAGE

                                               3   I.     INTRODUCTION .......................................................................................... 1

                                               4   II.    STATEMENT OF FACTS ............................................................................. 1
                                               5
                                                   III.   ARGUMENTS................................................................................................ 5
                                               6

                                               7          A.      Omniverse Requests the Court to Sever the Plaintiffs for
                                                                  the Following Reasons ......................................................................... 5
                                               8

                                               9                  1.       Law on Misjoinder ..................................................................... 5

                                              10                  2.       Plaintiffs Should be Severed Because the
                                              11                           Complaint Does Not State Facts Arising Out of the
                                                                           Same Transaction, Occurrence, or Series of
                                              12                           Transactions or Occurrences and Fundamental
                                              13                           Fairness to Omniverse ................................................................ 6
TROJAN LAW OFFICES
                     B E V E R L Y H I L LS




                                              14          B.      Omniverse Requests the Court to Order to the Plaintiffs
                                              15                  to Make Their Complaint More Definite So Omniverse
                                                                  Can Properly Respond .......................................................................... 7
                                              16

                                              17                  1.       Law on More Definite Statement ............................................... 6
                                              18                  2.       Plaintiffs’ Complaint Must be Made More Definite
                                              19                           Because Omniverse Cannot Frame a Proper
                                                                           Responsive Pleading .................................................................. 8
                                              20
                                              21          C.      The Court Should Strike All Comparisons to Dragon Box
                                                                  Because the Comparisons are Scandalous and Immaterial .................. 9
                                              22

                                              23                  1.       Law on Striking .......................................................................... 9
                                              24
                                                                  2.       Comparing Omniverse to Dragon Box is
                                              25                           Scandalous and Immaterial Because Dragon Box is
                                                                           Known for Pirating and Recently Settled for $14.5
                                              26
                                                                           Million with Plaintiffs for Copyright Infringment ................... 10
                                              27
                                                   IV.    CONCLUSION ............................................................................................. 11
                                              28
                                                                                                           -i-
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 3 of 14 Page ID #:166



                                               1                                                 Table of Authorities

                                               2   Cases                                                                                                            Pages
                                               3
                                                   Armstead v. City of Los Angeles, 66 F. Supp. 3d 1254 (C.D. Cal. 2014) ................. 8
                                               4

                                               5   Chambers v. NASCO, Inc., 501 U.S. 32 (1991) ....................................................... 8

                                               6   Coleman v. Quaker Oats Co., 232 F.3d 1271 (9th Cir. 2000) .............................. 3, 4
                                               7
                                                   Coughlin v. Rogers, 130 F.3d 1348 (9th Cir. 1997).............................................. 3, 4
                                               8

                                               9   Netflix Studios, LLC v. Dragon Media Inc., CV 18-230-MWF (AS) ....................... 8

                                              10   On The Cheap, LLC v. Does 1-5011, 280 F.R.D. 500 (N.D. Cal. 2011) .............. 4, 5
                                              11
                                                   Papagiannis v. Pontikis, 108 F.R.D. 177, 178–79 (N.D.Ill.1985) ........................ 4, 5
                                              12

                                              13   Scarbough v. R-Way Furniture Co., 105 F.R.D. 90 (D.C. Wis. 1985) ..................... 6
TROJAN LAW OFFICES
                     B E V E R L Y H I L LS




                                              14   Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880 (9th Cir. 1983)........................... 5
                                              15
                                                   Wynn v. Nat’l Broad. Co., 234 F. Supp. 2d 1067 (C.D. Cal. 2002) .......................... 3
                                              16

                                              17   Warth v. Seldin, U.S. 490 (1975) .............................................................................. 6
                                              18

                                              19   Codes, Rules, & Statutes                                                                                         PAGE
                                              20   Fed. R. Civ. P. 12(e).............................................................................................. 5, 6
                                              21   Fed. R. Civ. P. 12(f) .............................................................................................. 7, 8
                                              22
                                                   Fed. R. Civ. P. 20(a).................................................................................................. 3
                                              23

                                              24   Fed. R. Civ. P. 20(b) ................................................................................................. 4
                                              25
                                                   Fed. R. Civ. P. 21 ...................................................................................................... 3
                                              26

                                              27

                                              28   Treatises                                                                                                        PAGE
                                                                                                                -ii-
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 4 of 14 Page ID #:167



                                               1   5A Charles A. Wright & Arthur R. Miller,
                                                        Federal Practice and Procedure § 1382 (1990)......................................... 7, 8
                                               2

                                               3   2 Moore’s Federal Practice § 12.37[3] (3d ed. 2002) .............................................. 7

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TROJAN LAW OFFICES
                     B E V E R L Y H I L LS




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                                                                                                    -iii-
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 5 of 14 Page ID #:168



                                               1
                                                   I.    INTRODUCTION:
                                               2
                                                         Defendants Omniverse One World Television, Inc. and Jason M. Demeo
                                               3
                                                   (collectively, “Omniverse”) asks the Court to sever and dismiss misjoined Plaintiffs.
                                               4
                                                   Defendants also ask the Court to direct Plaintiffs to file a more definite statement to
                                               5
                                                   explain the nature of the infringement of their copyright claims. Omniverse does not
                                               6
                                                   know whether it is (1) accused of piracy, or (2) it is accused of exceeding the scope
                                               7
                                                   of the distribution agreement that Hovsat has with DirecTV under which Omniverse
                                               8
                                                   engages in marketing, or (3) both. The framing of a proper defense is very different
                                               9
                                                   under each of those scenarios.
                                              10
                                                         If the primary issue is whether the Hovsat Distribution Agreement has been
                                              11
                                                   exceeded, then the plaintiffs are not misjoined.      But if the plaintiffs claim that
                                              12
                                                   Omniverse engages in piracy, then there is no common nucleus of operative facts for
                                              13
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                                                   each copyright infringement, resulting in misjoinder of the plaintiffs. This motion
                     B E V E R L Y H I L LS




                                              14
                                                   also asks the court to strike specific scandalous and immaterial allegation in the
                                              15
                                                   Complaint. When the proper rule of law is applied to the facts of this case, the
                                              16
                                                   motions must be granted for the following reasons.
                                              17

                                              18   II.   STATEMENT OF FACTS
                                              19
                                                         Omniverse is marketer and technical provider for Hovsat Inc. (“Hovsat”), a
                                              20
                                                   licensed cable company since 1971. Hovsat is currently contractually entitled to
                                              21
                                                   distribute content under its long-standing agreement with DirecTV, Inc (“DirecTV”).
                                              22
                                                   The contract between Hovsat and DirecTV has no limitations with regard to
                                              23
                                                   geographic markets, nor innovating with regard to delivery method.
                                              24
                                                         Generally, Omniverse markets content delivered by Hovsat through secured or
                                              25
                                                   white listed ports. Omniverse has no record of known pirates having direct access to
                                              26
                                                   those ports. Omniverse works with Hovsat, distribution partners and their technical
                                              27
                                                   teams to ensure that all distributed content complies with copyright law.
                                              28

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                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 6 of 14 Page ID #:169



                                               1         Plaintiffs accuse Omniverse of copyright infringement under 17 U.S.C. §

                                               2   106(4), intentionally inducing the infringement of the copyrighted works under 17

                                               3   U.S.C. §§ 106(1) and (4), and contributory copyright infringement by knowingly and

                                               4   materially contributing to the infringement of the copyrighted works under 17 U.S.C.

                                               5   §§ 106(1) and (4). Complaint ¶¶ 65-67, 73-76, and 85-88.

                                               6         Plaintiffs further compare Omniverse to Dragon Media Inc. d/b/a Dragon Box

                                               7   (“Dragon Box”). Dragon Box was a known pirate of copyrighted broadcast content.

                                               8   The Complaint repeatedly places Omniverse in the same category as pirates such as
                                               9   Dragon Box:
                                              10            • “Defendants are not, however, just an infringing, consumer-facing
                                              11               service, akin to Dragon Box. Defendants operate at a higher level in the
                                              12               supply chain of infringing content—recruiting numerous downstream
                                              13               services like Dragon Box into the illicit market and providing them with
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                                                               access to unauthorized streams of copyrighted content.” Compl. ¶ 1.
                     B E V E R L Y H I L LS




                                              14

                                              15            • “In a case brought by Plaintiffs, Dragon Box recently agreed to a
                                              16               consent judgment and permanent injunction before this Court. See
                                              17               Netflix Studios, LLC v. Dragon Media Inc., CV 18-230-MWF (AS).”
                                              18               Compl. ¶1 n. 1.
                                              19            • “Unfortunately, legitimate online streaming services must compete with
                                              20               a growing number of unauthorized services, similar to the ‘Blend TV’
                                              21               and ‘My TV Hub’ services that were offered by Dragon Box. Many of
                                              22               these illegal services rely on Omniverse for the copyrighted content they
                                              23               offer.” Compl. ¶ 3.
                                              24            • “For example, in a recently settled case against an infringing provider,
                                              25               Netflix Studios, LLC v. Dragon Media Inc., CV 18-230-MWF (AS), the
                                              26               defendant in that case declared under penalty of perjury that Omniverse
                                              27               ‘allowed’ the ‘My TV Hub / Milo / Blend TV’ infringing services
                                              28               offered through his Dragon Box set-top box product to ‘stream
                                                                                            -2-
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 7 of 14 Page ID #:170



                                               1                 [Plaintiffs’] copyrighted works’ and that ‘the owner of Omni,’

                                               2                 Defendant DeMeo, ‘has represented that he has the licenses, but has

                                               3                 declined to provide me and my counsel with a declaration or with a

                                               4                 physical copy of the licenses.” Compl. ¶ 30.

                                               5             •   “In addition to Dragon Box’s Blend TV and My TV Hub, examples of

                                               6                 ‘powered by Omniverse’ services include: SkyStream TV, Flixon TV,

                                               7                 and Silicon Dust’s HDHomeRun Service.” Compl. ¶ 37.

                                               8          If the plaintiffs seriously contend that Omniverse is another Dragon Box
                                               9   engaging in outright piracy, then it should say so in the complaint. If the plaintiffs
                                              10   are alleging that Omniverse is exceeding the authority of the Hovsat license, then the
                                              11   Dragon Box allegations must be dropped as inflammatory and irrelevant.
                                              12

                                              13   III.   ARGUMENTS
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                     B E V E R L Y H I L LS




                                              14          A. Omniverse Requests the Court to Sever the Plaintiffs for the Following
                                              15             Reasons
                                              16                 1.     Law on Misjoinder
                                              17          To decide this motion, the controlling rule of law is FRCP 20 and 21. Under
                                              18   FRCP 21, the Court “[o]n motion or on its own…may at any time, on just terms, add
                                              19   or drop a party.” Under Rule 20(a), Plaintiffs attempting to join together in one action
                                              20   must meet two requirements: “(A) they assert [a] right to relief jointly, severally, or
                                              21   in the alternative with respect to or arising out of the same transaction, occurrence,
                                              22
                                                   or series of transactions or occurrences; and (B) [a] question of law or fact common
                                              23
                                                   to all plaintiffs will arise in the action.” Fed. R. Civ. P. 20(a)(1). Both of these factors
                                              24
                                                   must be satisfied. See, e.g., Coleman v. Quaker Oats Co., 232 F.3d 1271, 1296 (9th
                                              25
                                                   Cir. 2000); Wynn v. Nat’l Broad. Co., 234 F. Supp. 2d 1067, 1078 (C.D. Cal. 2002).
                                              26
                                                   The Ninth Circuit has stated “the first prong, the ‘same transaction’ requirement,
                                              27
                                                   refers to the similarity in factual background of a claim.” Coughlin v. Rogers, 130
                                              28
                                                   F.3d 1348, 1350 (9th Cir. 1997). Additionally, the Northern District of California has
                                                                                                -3-
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 8 of 14 Page ID #:171



                                               1   stated “downloading the same file [does] not mean…engage[ment] in the same

                                               2   transaction or occurrence.” On The Cheap, LLC v. Does 1-5011, 280 F.R.D. 500,

                                               3   502–04 (N.D. Cal. 2011). Under Federal Rule of Civil Procedure 20(b), the Court

                                               4   “may issue orders—including an order for separate trials—to protect a party against

                                               5   embarrassment, delay, expense, or other prejudices.” Fed. R. Civ. P. 20(b). The Ninth

                                               6   Circuit has stated, “a district court must examine whether comport with the principles

                                               7   of fundamental fairness or would result in prejudice to either side.” Coleman, 232

                                               8   F.3d 1271 at 1296 (quotation omitted).
                                               9                2.     Plaintiffs Should be Severed Because the Complaint Does Not
                                                                       State Facts Arising Out of the Same Transaction, Occurrence,
                                              10                       or Series of Transactions and Fundamental Fairness to
                                              11                       Omniverse
                                              12         Eight plaintiffs claim Omniverse infringes their copyrights. However,
                                              13
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                                                   Plaintiffs fail to state facts that arise from a common transaction, occurrence, or series
                     B E V E R L Y H I L LS




                                              14   of transactions. In their Complaint, Plaintiffs state Omniverse operates “at a higher
                                              15   level in the supply chain of infringing content…providing [downstream services]
                                              16   with access to unauthorized streams of copyrighted content.” Compl. ¶ 1. Plaintiffs
                                              17   are accusing Omniverse of piracy without stating facts alleging how Omniverse
                                              18   committed piracy. An accusation of copyright infringement necessitates who, what,
                                              19   when, and where to establish facts arising out of the same transaction, occurrence, or
                                              20   series of transactions suffered by all plaintiffs. A copyrighted property could have
                                              21   been recorded in a theatre and made available online. Or a secure online file storage
                                              22
                                                   could have been accessed, a copyrighted file downloaded and reproduced, and said
                                              23
                                                   file made available online. The who, what, when, where could be very different for
                                              24
                                                   each copyrighted work.
                                              25
                                                         In Papagiannis v. Pontikis, 108 F.R.D. 177, 178–79 (N.D.Ill.1985), a case
                                              26
                                                   cited by the Ninth Circuit in Coughlin, joinder of plaintiffs was improper despite the
                                              27
                                                   similarity of the nature of defendant's alleged misrepresentation to each plaintiff and
                                              28
                                                   each plaintiff claiming violation of the same federal law. Additionally, in Northern
                                                                                               -4-
                                        Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 9 of 14 Page ID #:172



                                               1   District Court of California case On the Cheap, multiple defendants were severed

                                               2   despite all being accused of downloading the same film. Joinder was improper even

                                               3   though “defendants used BitTorrent to download the same film.” On the Cheap, 280

                                               4   F.R.D. 5 at 503. If downloading the same film is not sufficient for joinder, then

                                               5   downloading different copyrighted films and television shows is definitely not

                                               6   sufficient for joinder.

                                               7         In the present Complaint, Plaintiffs have not alleged a specific incidence of

                                               8   piracy beyond their general copyright infringement claim. Plaintiffs’ Complaint
                                               9   identifies multiple allegedly infringed properties having different owners without
                                              10   actually stating how the alleged infringements arises under the same transaction
                                              11   shared by all Plaintiffs. Similarly to Papagiannis, Plaintiffs here have alleged a
                                              12   general wrong (copyright infringement) covered under the same statute without
                                              13   stating specific shared facts about the copyright infringement shared by the Plaintiffs.
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                                                   Additionally, the downloading of a file does not establish a common transaction, as
                     B E V E R L Y H I L LS




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                                              15   taught in On the Cheap.
                                              16         Plaintiffs have not stated facts demonstrating how Omniverse infringed
                                              17   Plaintiffs’ different copyrighted properties, nor the relatedness of Plaintffs’ claims to
                                              18   be joined in one action against Omniverse. Additionally, Omniverse being forced to
                                              19   litigate multiple counts of piracy covering all eight Plaintiffs and their respective
                                              20   properties and unique facts would be fundamentally unfair. For these reasons, the
                                              21   Court must sever the plaintiffs under Federal Rule of Civil Procedure 21.
                                              22         B.     Omniverse Requests the Court to Order the Plaintiffs to Make
                                                                Their Complaint More Definite So Omniverse Can Properly
                                              23
                                                                Respond
                                              24
                                                                1.     Law on More Definite Statement
                                              25
                                                         Federal Rules of Civil Procedure 12(e) controls requests for more definite
                                              26
                                                   statement. Under Rule 12(e), “[a] party may move for a more definite statement of
                                              27
                                                   pleading to which a responsive pleading is allowed but which is so vague or
                                              28
                                                   ambiguous that the party cannot be reasonably prepare a response.” Fed. R. Civ. P.
                                                                                              -5-
                                              Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 10 of 14 Page ID
                                                                                #:173


                                                1   12(e). Trial courts have broad discretion to require amendment of the complaint to

                                                2   provide additional detail. Warth v. Seldin, U.S. 490, 501-02 (1975). “A motion for a

                                                3   more definite statement is an appropriate device to narrow the issues, to delineate the

                                                4   boundaries of claims asserted, and to expediate and simplify the proceedings.”

                                                5   Scarbough v. R-Way Furniture Co., 105 F.R.D. 90, 91 (D.C. Wis. 1985).

                                                6

                                                7                 2.     Plaintiffs’ Complaint Must be Made More Definite Because
                                                                         Omniverse Cannot Frame a Proper Responsive Pleading
                                                8

                                                9           The Complaint alleges Omniverse pirates Plaintiffs’ individually owned
                                               10   copyrighted properties. The Complaint also alleges Omniverse does not have the
                                               11   authorization to market Hovsat’s licensed content. In paragraph 1 of the Complaint,
                                               12   Plaintiffs allege Omniverse is “an infringing, consumer-facing service” and
                                               13
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                                                    infringing Plaintiffs’ copyrights by piracy.      However, in Paragraph 3 of the
                     B E V E R L Y H I L LS




                                               14   Complaint, Plaintiffs also allege “Omniverse has no…sub-licensing rights, and thus
                                               15   cannot authorize the downstream services to publicly perform Plaintiffs’ Copyrighted
                                               16   Works to their retail customers.” These are very different scenarios. It is unclear if
                                               17   Plaintiffs are alleging Omniverse pirated the properties in question, or Omniverse’s
                                               18   marketing activities have merely exceeded the scope Hovsat’s licensed rights, or
                                               19   both.
                                               20           If it is only a question of interpreting the Hovsat-DirecTV agreement, then the
                                               21   case will likely be decided based upon the Court’s interpretation of broadcasting
                                               22
                                                    contract law in the context of copyright law. This could provide a common factual
                                               23
                                                    theory for joinder. But if Plaintiffs are alleging outright piracy, then Plaintiffs are
                                               24
                                                    pleading a facts intensive case with respect to each copyright infringement. If that is
                                               25
                                                    the case, the individual plaintiffs must be severed.
                                               26
                                                            The ambiguities in Plaintiffs’ Complaint must be clarified before Omniverse
                                               27
                                                    can properly respond. If Plaintiffs’ Complaint is alleging Omniverse is a pirate,
                                               28
                                                    Omniverse needs to prepare for an action that covers multiple properties held by
                                                                                               -6-
                                              Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 11 of 14 Page ID
                                                                                #:174


                                                1   multiple plaintiffs. If Plaintiffs’ Complaint is alleging Omniverse does not operate

                                                2   under proper authorization, Omniverse needs to prepare for an action primarily

                                                3   involving the meaning of the Hovsat-DirecTV agreement. Or both. Because of the

                                                4   ambiguities in the Complaint, Omniverse cannot properly respond to Plaintiffs’

                                                5   allegations.    Ordering a more definite statement also best serves the time and

                                                6   resources of the Court because it clarifies what facts and allegations are actually at

                                                7   issue, thereby allowing the case to proceed with judicial efficiency. For these reasons,

                                                8   the Court should grant the motion for more definite statement.
                                                9         C. The Court Should Strike All Comparisons of Omniverse to Dragon
                                                             Box Because the Comparisons are Scandalous and Immaterial
                                               10

                                               11                  1.   Law on Striking
                                               12         Under Federal Rule of Civil Procedure 12(f), the Court “may order stricken
                                               13
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                                                    from any pleading any redundant, immaterial, impertinent, or scandalous matter.”
                     B E V E R L Y H I L LS




                                               14   Fed. R. Civ. P. 12(f). This provision allows the Court to dispense with spurious issues
                                               15   prior to trial to prevent waste of the Court’s time and resources. See Sidney-Vinstein
                                               16   v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir. 1983) (“[T]he function of a 12(f)
                                               17   motion to strike is to avoid the expenditure of time and money that must arise from
                                               18   litigating spurious issues by dispensing with those issues prior to trial…”).
                                               19   “Scandalous’ matter is that which improperly casts a derogatory light on someone,
                                               20   most typically a party to the action.” 5A Charles A. Wright & Arthur R. Miller,
                                               21   Federal Practice and Procedure § 1382 at 712 (1990) (footnote omitted).
                                               22
                                                    “Scandalous’ generally refers to any allegation that unnecessarily reflects on the
                                               23
                                                    moral character of an individual or states anything in repulsive language that detracts
                                               24
                                                    from the dignity of the court.” 2 Moore’s Federal Practice § 12.37[3] at 12-97 (3d
                                               25
                                                    ed. 2002) (footnote omitted). “[T]he disfavored character of 12(f) is relaxed
                                               26
                                                    somewhat in the context of scandalous allegations and matter of this type often will
                                               27
                                                    be stricken from the pleadings in order to purge the court’s files and protect the
                                               28
                                                    subject of the allegations.” 5A Wright & Miller, Federal Practice and Procedure §
                                                                                               -7-
                                              Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 12 of 14 Page ID
                                                                                #:175


                                                1   1382 at 714.1 This Court has stated “[t]he court may consider documents that are

                                                2   proper subjects of judicial notice in ruling on a party's…motion to strike.” Armstead

                                                3   v. City of Los Angeles, 66 F. Supp. 3d 1254, 1260 (C.D. Cal. 2014), aff'd sub nom.

                                                4   Alvarado v. City of Los Angeles, 720 F. App'x 889 (9th Cir. 2018).

                                                5
                                                                   2.     Comparing Omniverse to Dragon Box is Scandalous and
                                                6                         Immaterial Because Dragon Box is a Known for Pirating and
                                                                          Recently Settled for $14.5 Million with Plaintiffs for
                                                7
                                                                          Copyright Infringement
                                                8
                                                           Plaintiffs’ Complaint refers to and compares Dragon Box to Omniverse five
                                                9
                                                    times. See Compl. ¶¶ 1, 1 n. 1, 3, 30, 37. Plaintiffs know associating Omniverse with
                                               10
                                                    Dragon Box means associating Omniverse with a pirate because Plaintiffs are the
                                               11
                                                    same plaintiffs that recently sued Dragon Box before this Court in Netflix Studios,
                                               12
                                                    LLC v. Dragon Media Inc., CV 18-230-MWF (AS). In the Netflix judgment and
                                               13
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                                                    permanent injunction against Dragon Box, this Court described the “‘Dragon Box
                     B E V E R L Y H I L LS




                                               14
                                                    service’” as “hardware devices preloaded with copyright infringing software
                                               15

                                               16
                                                    programs, applications, and services that transmit or otherwise communicate

                                               17
                                                    television programs and motion pictures over the Internet.” See Trojan Dec., Exh. B

                                               18
                                                    ¶ 1. In the Netflix complaint, plaintiffs stated Dragon Box “uses software to link its

                                               19
                                                    customers to infringing content on the Internet.” See Trojan Dec., Exh. A ¶ 2. The

                                               20
                                                    Netflix complaint further stated “[t]hese addons are designed and maintained for the

                                               21   overarching purpose of scouring the Internet for illegal sources of copyrighted

                                               22   content and returning links to that content.” Id. ¶ 26. Finally, in the Netflix judgment

                                               23   and permanent injunction, a $14.5 million judgment was entered against Dragon Box

                                               24   for open and notorious piracy. See Trojan Dec., Exh. B. Plaintiffs know Dragon Box

                                               25

                                               26
                                                    1
                                               27     The relief provided for in Rule 12(f) need not be granted only upon motion of a party.
                                                    Consistent with the Court’s inherent power to protect the decorum of the proceedings before it,
                                               28   the Court may strike such material sua sponte. Fed. R. Civ. P. 12(f); see Chambers v. NASCO,
                                                    Inc., 501 U.S. 32, 43 (1991) (quoting Anderson v. Dunn, 5 Wheat 204, 226 (U.S. 1821)).
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                                              Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 13 of 14 Page ID
                                                                                #:176


                                                1   was before this Court for pirating copyrighted properties, and therefore comparing

                                                2   Omniverse to Dragon Box means comparing Omniverse to a pirate.

                                                3         Plaintiffs’ comparisons of Omniverse to Dragon Box are immaterial and cast

                                                4   a derogatory light on Omniverse and prejudice Omniverse in further proceedings. In

                                                5   Paragraph 1 of Plaintiffs’ Complaint, Plaintiffs allege Omniverse is “an infringing,

                                                6   consumer-facing service, akin to Dragon Box.” Compl. ¶ 1 (emphasis added).

                                                7   Plaintiffs implicitly stated Omniverse is a pirate by stating Omniverse is similar to

                                                8   Dragon Box. And not just a pirate, but one that was recently before this Court and
                                                9   settled for $14.5 million. Additionally, Plaintiffs’ Complaint does not allege
                                               10   Omniverse streaming, linking, or otherwise providing pirated copyrighted properties.
                                               11   In Paragraph 37 of present Complaint, Plaintiffs instead compare known Dragon Box
                                               12   pirating apps Blend TV and My TV Hub to Omniverse’s downstream service
                                               13   customers. Compl. ¶ 37.
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                                                          Comparisons between Omniverse and Dragon Box are immaterial because
                     B E V E R L Y H I L LS




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                                               15   Dragon Box is a hardware device utilizing software to search and link pirated content
                                               16   and Omniverse is a marketing partner of a cable company. Comparisons between
                                               17   Omniverse and Dragon Box are also scandalous because comparing the two unlike
                                               18   entities damages Omniverse through guilt by (misplaced) association.
                                               19         For these reasons, Omniverse requests that all references to Dragon Box,
                                               20   including those with “Dragon Box,” “Blend TV,” and “My TV,” at paragraphs 1, 3,
                                               21   30, 37 and paragraph 1 footnote 1 be stricken because they are scandalous and
                                               22   immaterial.
                                               23         /////
                                               24         /////
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                                              Case 2:19-cv-01156-DMG-PJW Document 30-2 Filed 04/10/19 Page 14 of 14 Page ID
                                                                                #:177


                                                1   IV.   CONCLUSION

                                                2         For the foregoing reasons, the Court should GRANT Plaintiffs’ Motion to

                                                3   sever, grant the motion for more definition statement, and grant the motion to strike.

                                                4                                          Respectfully submitted,

                                                5                                          TROJAN LAW OFFICES

                                                6                                          by

                                                7   April 10, 2019                         /s/ R. Joseph Trojan
                                                8                                          R. Joseph Trojan
                                                                                           Attorney for Defendants,
                                                9                                          OMNIVERSE ONE WORLD
                                               10                                          TELEVISION, INC. and JASON M.
                                                                                           DEMEO
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